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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
 Teresa Dominguez, et al.,                               CASE NUMBER


                                                                        CV 17-4557-DMG (PLAx)
                                            PLAINTIFFS
                             v.

 City of Los Angeles, et al.,                                     JUDGMENT ON THE VERDICT
                                                                      FOR DEFENDANTS
                                          DEFENDANTS.



       This action having been tried before the Court sitting with a jury, the Honorable Dolly M. Gee, District
Judge, presiding; the issues having been duly tried and the jury having duly rendered its verdict.

         IT IS ORDERED AND ADJUDGED that judgment is entered in favor of Defendants; Plaintiffs take
nothing; and the action is dismissed on the merits pursuant to the verdict filed on November 19, 2018.

                                                    Clerk, U. S. District Court



Dated: November 19, 2018                            By      Kane Tien
                                                              Deputy Clerk




CV-44 (11/96)                      JUDGMENT ON THE VERDICT FOR DEFENDANT(S)
